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                                  UM TED STATESPISTRICT COURT
                                    SOUTH ERN DISTRICT O F FLORIDA

                                    C ase N o.22-20001-CR -A LTO NA G A


 UNITED STATESOFAMEFICA
 V.

 PAOLA SOTO,'
      .




                      D efendant.
                                                /

                                           PLEA AGREEM ENT


          The United States of America and PAOLA SOTO (hereinafter referred So as the
 çr efendanf')enterintothefollowingagreement:
                    The D efendaht agreçs to plead guilty to the three Cotm ts of the lnform ation filed

 agéinsther,which countschargetheDefendantin Count1with willfully and knowingly,with the

 intentto furthertheobjectsoftheconspiracy,combined,conspired,confederated,andagreedwith
                .




 others known,and unknown,to commit offensçs.against the United States,that is:(a) to
 fràudulentlyandknowingly importandbringintotheUnited Statesany merchandisecontraryto
 law ,and recçive;conceal,and selland in any m nnner facilitate the transportation,concealm ent,
                                                                                          ,




 and sale of such p erchandise afler im portation,know ing the sam e to have been im ported and

 bp ughtinto.
            theUnitedStatescontrarytolaw,in viqlation ofTitle 16,United StatesCode,Section

  1538/)and Title 50 CodeofFederalRegulations,Seçtion 14614and (b)to defraudtheUnited
 States by im peding,im pairing,obstnlcting and defeating the lawfulgovernm entfunctions ofthe
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          U .S.Fish & W ildlife Service,in theinspectilm ,m onitoring,m anagem ent,controland regulation

          oftheimpqrtation pfwildlifeiptotheUnited Sfates.andthepcoperenfo.
                                                                          rcem entoffefleralwildlife

                                                                        ,And.in Counts2 and 3 thatthe
          laws,a11in violation ofTitle 18,United StatesCode,.Section 771.                        .




          Defendantf'
                    raudulently and knowingly importing and brinjing.into the United Stateson two
          separate occasions any m erchandise çontrary to law,thatis,variouspro'
                                                                               dttctsm ade from the skins

          of w ildlife listed in CITES Appeqdix 11,and did receive,conceal,and sell,>nd in any m anner

          facilitatethetransportation,concealment,andsaleofst
                                                            uchmerchandisehfterimportation,knowing
          the same to hqve been imported and broughtinto the United States contràry to law,thatis,16

          U.S.C.j 1538(c)aq
                          nd 50CFR j 1461;inviolationofTitle 18,Uëted StatesCode,Sections645
          and 2.

                            ln consideration therefor,theUnited Statesagreesthatitwillnotbring additional
                       :
          chargés agmnst the D efendant for wildlife trafficking and related offenses,based oll conduct

      know n to the U nited Statesatthe tim e ofexecution ofthis agreem ent.

                           The Defendant is aware that the sentence will be im ppjçd by the court after

          considering the FederalSentencing Guidelinesand Policy Statements(herein&fterGGsentencing
          Guidelines').The Defendant acknowledges and understands thatthe courtwillcompute an
          advisory delitence under the
                                    Q
                                       Senteùcing G uidelines and that $he applicable guidelines willbe
                                                     .
                                            .
      '

          detenninedby the cottrtrelying in parton therestilts ofa Pre-sentencelnvestigation by the court's
                   .

                                                                                     t

      probaiion officq,which investigationwillcommenceaftertheguiltypleatlasbeen entered.The '
                                                                             .



      Defendantisalso awarethat,undercedain circlmzstances,the éoultm ay departfrom theadvisory

          sentencing gtzidèline range that ithas computed,and m ay yaise or low er that advisory sehtence
                                                                                         .




..        tm dqrthe Sentencing G uidelines.Thp D efendaptisfurthçraw am and understands'
                                                                                       thatthe çourtis
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 requiredto considertheadvisory guidelinerangedeterm inedundertheSentencing Guidelines,but

 isnotbotm d to im pose thatsentence'
                                    ,the courtisperm itted to tailorthe ultim ate sentence in light

 of other statutofy concerns,and such sentence m ay be either m ore severe or less severe than the

 Sentencing Guidelines'advisory sentence.K now ing thesq facts,the D efendantundçrstands and

 àcknowledgesthatthecoulthastheauthoritySoimposeany sentencewithipanduptothestattztory

 m aximum èauthorizedby law forthethreeoffensesideptifiedinparagraph 1andthattheDefendant

 maynotwlthdzaw thepleasolelyasaresultofthesentçnceimposed.
                         The D efendant also tm derstands and acktzow lçdges that the court m ay im pose a
 statutory m axim um term ofim prisonm çnt of up to five years as to Cotmt 1 and up to 20 years as

 tp Cotmts2 and3,andsuchperipdsmay befollowed by atenn ofi
                                                         su/ervisedreleaseofup to 3
                         '
                                                           .

 yearsontlteehargesin Counts1fhrough3towhichsheispleadingguilty.lnadditiontotermsof
 im prisonm entand supervised release asto each Count,the courtm ay also im pose a tine ofup to

 $250,000,ortwicethegrcssgqin orlossarisingtmdertherelevantconduct,whicheverisgreater,
 andmay enteranorderofrestitutiontoanyidentifiablevktim ofthecriminaloffense.
                         TheD efendant'
                                      furthertm derstands and acknow ledgesthat,in additioh to any sentence

 imppsedtmderparagraphs3àtld4ofthisagm emept;aspecialassessm entinthenmountof$300.00
                 .           .    .          .     .   '



 willbe im posed on the D efendantw ith respectto the cotm tsto w hich yhe ispleading guilty.The
                                                                                           .



 DefendantagreesShatthe specialassçssm entimposed shallbew
             ,       .                                   paid atthetim eofsentencing.
                                 The United States and the Defendant pgree that,althpugh notbinding ön the

 probation office ortheacourt,they willjointly recommenilthatthe c'ouitmakethe following
 findingy and conclusions as to the proper initialcalctzlation ofthe Sentencing Guidelines in tllis
         '
     o
 Case.


                                 BaseOffenseLevel:Pursuantto Section 2Q2.1(a)bftheSentencing Guidelines,
                                 the bàse offense levelin thism atterisLevel6.
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               Specific Offense Characteristics:
                                  -




                       Pursuantto Section2Q2.1(b)(1)oftheSentencingGuidelines,thebaseoffense
                       level in this m atter shpuld be increased by 2 ldvels since the offense was
                       com mitledforp' ecuniary gain and involveda comm ercialpurpose.

             (2)       PtlrsuatlttoSection2Q2.1(b)(3)andSection2B1.1(b)(1)(H)oftheSentencing
                       Guidelines,since the readily provable m arkétvàlue oftlie wildlife isgreater
                       than $550,000 butlessthan $1,500,000,the base offense levelin this matter
                       should beincreased by 14 levels.

        c.     Chapter Three.PartB Adiustment:Pursuant to Section 3B1.
                                                 f   .-
                                                                     '1(c) atlupward        .

               adjustmentforioleintheqffenseof2levelslswarrahted
                   '          .             ..



               Guidelines range:Thatthq applicable advisory guidelinesrange forthe offenses
               commitled by the Defendant is Offense Level 24,before any reduction for
               acceptance ofresponsibility.See Paragraph 8 below .

              The Offce oftheU nited StatesA ttorney forthe Southem DistrictofFlorida and the
 Environm ental Crim es Section of the U nited States D epartm ent of Justice's Environm ent and
 NaturalResotlrcesDiviyion(hereinafterG(theUnitedStates'')reserves
                                                                 'therighttoinformuthecourt
 and the probatiop office ofa1lfaçts peftinentto the sentencing process,including a1lrelevallt
 information cpncerningtheoffensescomm itted,whethercharged otnot,aswellasconcerning the
                                       i.                                                             ,

 DefendantandtheDefendant'sbackgrotmd.Subjectonlytotheexpresstermsofanyagreed-upon
 Guidelines recom m endationk contained in this agreem ent,the United States further reserves the
 righttom ake any recom mendation astothequality and quantity ofpunishment.
               TheUnited Statesagreesthatitwillrecom mend atsentencingthatthecourtreduce

 thesentencingguidelinelevelapplicabletotheDefendant'soffensepursuanttoSections3E1.1(a)
 and('
     b)oftheSentencingGuidelines,basedupontheDefendant'srecognitionandaffirmativeand
 timely acceptance ofpersonalresponsibility.resulting in areductipn ofthe finaltotaladjusted
 offense levelto Level21.H ow ever,the Urtited Statesw illnotberequired to m ake this sentencing

 recomm endation if the Defendant:(1) fails or refuses to m ake.1 11, accurate and complete

                                                          4
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                      disclostlre to the probation office ofthe circum stances stuw unding the relevapt offense conduct;

                      (2)isfotmdfohavemisrepresentedfabtstothegovernmentpriortopnteringthispleaagreement;
                      or(3)commitsany misconductafterentering intothispleaagreement,includingbutnotlimited
                      to com m itting a dtate or federaloffense,violating apy te
                                                                               'rm ofrelease,orm nking false statem ents

                      orm isrepresentations to any governm ent>lentity or official.

                                    The Defendantagreesthatsheshallcooperate f'ully'
                                                                                   w ith theunited Statesby:(a)
                                                                                                  .




                      pioviding trtzthfuland com pld einfozm ation and testim ony,and producing docum ents,reçordsand

                      otherevidenqe,whencalleduponbytheUnitedStates,whetherininterviews,beforeagrandjury,
                      or atany trialorother Courtproceeding;and (b)appearing atsuch grand
                                                                                        .july proceedi
                                                                                                     .ngs,
                      hearings,trials,andotherjudicialproceedings,andatmeetings,asmayberequiredbytheUnited
                      Slates.ln additiop,theDefendN tagreesthatsheF$llnotprotectatlyperson orentitythroughfalse
                                .




                      infonnation orom ission,thatshewillnotfalsely im plicateany person orentity,andthatshewill

                      notcom m itany furtherèrim es.

                                    The U nited States resçrves the right to evaluate the naturè and extent of the

                      D efendans's cooperation and to m ake thatcooperation,oy lack thereof,know n to the Cotu'tatthe

                      timeofsentencink. IfinthesoleandtmreviewablejudgpentoftheUnitedVtatestheDefendant's
                      cobperation isofsuch qualit.
                                                 yandsignificancetotheinxestigaiion orprosecution ofothercrim inal
                      m atters as to w arrant the Court's dow nw ard dçparture from the advispry sentencing range

                      calculated tmderthe Sentencing Guidelinesand/orany applicablem inimum m andatoly '
                                                           x                                           kentence,
'

                      the United Stateg m ay m ake a m otion prior to sentencing pursuant.to Section 5K 1.1 of the
                                        .
                                                               '            '                                   -




                      Sentencing Guidelinesand/orTitle 18,United States.Cpde,Section 3553($,orsubsequentto
    ). ' '                          '
     ,
             .        sentencing purspaptto Rule 35 ofthe FederalRules of Crim inalProcedttre,infonning the Court
     :           '.

         '
         ( '
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 that the D efendant has provided substantial assistance and recom m ending thatthe D efendant's

 sentence beryduced. The Defendantunderstandsand agrees,however,thatnothing in this
 agreem ent requires the U nited States to file any such m otions, and that the United States'

 assessm ent ofthe quality and significance of the D efendant's cooperation shallbe binding as it
                                                         .




 relatestotheappropriatenessofthefiling ornon-filing ofamotiontoreducesentence.

        11.     The Defendanttm derstandsand acknow ledgesthatthe Courtistm derno obligation

 to granta m otion forreduction ofsentence filed by the U nited States. In addition,the D efendant

 furtherunderstands and acknow ledges thatthe Courtisunderno obligation ofany type to reduce

 theDefendant'ssentencebecauseoftheDefendant'scooperation.

        12.    TheDefendantisawarethatthe sentencehas.notyetbeea detennined bythecourt.

 The Defendantalso is aw are that any estim ate ofthe probable sentencing range or sentence that

 the D efendant m ay receive, w hether that estim ate com çs from the.Defendant's attorney, the

 governm ent,orthe probation office,is a prediction,nota prom ise,and is notbinding on the

 governm ent,the probation office or the com't.The Defendant tpderstands further that any

 recomm endation thatthegovernmentm akestothecoul'
                                                 tasto sentencing,whetherptlrsuanttothis

 agreem ent or otherwise, is not binding on the court and the court m ay disregard the

 recomm endation in its entirety.The Defendanttmdrrstands and acknowledges,as previously

 acknowledged in paragraph 3 above,thatthe Defendantm ay notwithdraw herplea based upon

 the cottrt's decision not to accept a sentencing recomm endation m ade by the Defendant,the

 government,orarecommendationmadejointlybyboththeDefendantandthegovernm'ent.
        13.    The Defendantisaware thatTitle 18,United States Code,Section 3742 and Title

 28,U nited StatesCode,Section 1291afford the Defendantthe rightto appealthesentence im posed
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 in this case.A cknowledging thik,in excha'
                                          nge forthe undertykings m ade by the U nited States in

 thisplea agreem enf,the D efendanthereby w aives allrightsconferred by Se'
                                                                          ctions 3742 and 1291

 to appealany sentence im posed,including any restitution order,orto appealthe m annerin which

 the sentepçew asim posed,unlessthe sentence exceedsthem axim lim petm itled by statute oristhe

 result of an upw ard departure and/or an upw ard variahce from the advisory guideline range that

 the Court establishes at senfencing. The D efendant fudher understands that nothing in this

 agreem entshallaffectthegovernment'drightapd/ordu'
                                                  tyto appealassçtforth in.
                                                                          -fitle 18,United

 StatesCode,Sectlpn 3742(17)and Title28,United StatesCode,Vectiôn'1291.floweyer,ifthe
 United St4tes appealsthe Defendant's sentencç pursuantto Sections 3742(b) and 1291,the
 Defendatztshallbereleased from the abovewaiverofappellaterights.èBy signing thisagreem ent,
 the D efendantaéknow ledges thatthe D efendanthasdiscussed theappealwaiversètforth in this
                                       .




 agreem entwith the D efendant's attorney.The D efendantftlrther agrees,togçther w ith the U nited

 States,toiekuestthattheCourtenteraspecificsndingthatthebefendant'swaiverofherrightto
                                                         .




 appealthe senfehceimppsed in thiscasewasknowing and voluntat'y.

        14.    This is the entire agreem entand tm derstandiég between the U rlited'states mld the
                    .




 Defenbant.Therearenootheragreements,promisçs,representations,or.
                                                                understM dings.


                                             Rrspectfully subm itted,
                                             JUAN ANTON IO GONZALEZ
                                             UN ITED STA TES.A TTOIG EY


 Datç: 0b         Nm                                         .r
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                                               sqistantUhited StatesXttom ey
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                                     TOD D K lM
                                     A SSISTAN T ATTORNEY GENERAL
                                     Environm entand N aturalResotlrcesD ivision



 Date: ô >.o       2.2 -        y.    .
                                      '
                                       chard J. owers
                                     TrialAttorney
                                     Environm entalCrim es Section



 Date: p 9 pa u op ow
                                     W ILLIAM R.BARZEE!ESQ.
                                     Attom ey fôrD efendant



 Date: og lo-olvn'wu
                                      A OLA SO TO
                                     D EFEN D AN T




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